AO 2458 (Rev. lI/l l) Judgme'it in a Criinintil Cuse

 

 

Sheet l
United States District Court
NORTHERN DISTRICT OF IOWA
UNlTED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
DANIEL LEE RIAL Case Number: CR ll-3002-l-MWB

USM Number: 11810-029

John Greer

Defendani's Attomcy

THE DEFENDANT:

l pleaded guilty to count(s) l of the Indictment filed on January 19, 2011

[l pleaded nolo contendere to count(s)
which was accepted by the court.

 

[l was found guilty on count(s)
alier a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Ofi`ense Ended Count
21 U.S.C. §§ 84l(a)(l), Conspiracy to Manufacture and Distribute 50 01/31/2011 l
84l(b)(l)(A) and 846 Grams or More of Methamphetaminc Actual

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant

to the Sentencing Reform Act of 1984.
El The defendant has been found not guilty on count(s)

 

E Counts is/zire dismissed on the motion of the United States.

_ lT lS O_F_KDERED that t_he defendant must notify the United.States attorney for this district within 30 da s of a_ii change of name,
residence, or mailing address until all fines, restitution, _costs, and special assessments imposed _by this _iudgmentare ully pai . lf` or ered to pay
restitution, the defendant must notify the court and United States attorney of material change in economic circumstances

August 23, 2012

Date of lmposition ofJudgment

Signature of .ludicizii Off`iccr

Mark W. Bennett
U.S. District Court Judge

Name and Titlc of Judicial Ofl'icer

Y¢?§’./Q`

 

 

 

Date

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Sheet 2 - imprisonment

Judgment _ Page 2 of

DEFENDANT: DANIEL LEE RIAL
CASE NUMBER: CR ll-3002-1-MWB

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of: 140 months on Count 1 of the Indictment. It is orderec that this sentence shall run concurrenth wit

ler of the undischar ed term of im risonment mnosec n Webster Coun%, Iowa, Case Nos. AGCRE
AGCR338497, AGCR33798[:§, AGCR3378§6, and FEC R34119), pursuant to USS § 561.3(c).

 

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l The court makes the following recommendations to the Bureau of Prisons:
The defendant be designated to FCI in Oxford, Wisconsin.

The defendant participate in the Bureau of Prisons’ 500-Hour Comprehensive Residential Drug Abuse Treatment
Program or an alternate substance abuse treatment program.

l The defendant is remanded to the custody of the United States Marshal.

El The defendant shall surrender to the United States Marshal for this district:

Elat

Cl as notified by the United States Marshal.

|:l a.m. l:l p.m. on

 

El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

El before 2 p.m. on

 

|Il as notified by the United States Marshal.

El as notified by the Probation or Pretrial Services Office.

l have executed this judgment as follows:

RETURN

 

 

 

Defendant delivered on

al

 

10

, with a certified copy of this judgment

 

UN|TED STA'I`ES MARSHAL

By

 

DEPU']`Y UNlTED STATES MARSHAL

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Sheet 3 _ Supervised Re|ease

 

 

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DEFENDANT: DANIEL LEE RIAL
CASE NUMBER: CR ll-3002-l-MWB

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:S years on Count l of the Indictment .

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shall submit to one drug test within l5 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

Cl

l
l
l:l

El

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

lf this `udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

Schedule o Payments sheet of thisjudgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.

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STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
of a felony, unless granted permission to do so by the probation officer;

the defendant shall permit a probation_officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer;

thf?_ defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
o icer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

as_directed by the probation omcer, the defendant _shall notify third parties of risks that may be occasioned by the defendant’s
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant’s compliance with such notification requirement.

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Sheci 3C - Supervised Release

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DEFENDANT: DANIEL LEE RIAL

CASE NUMBER: CR ll-3002-l-MWB

SPECIAL CONDITIONS OF SUPERVISION

Tlie defendant must comply with !liefollo wing special conditions as ordered by the Court and Implememed by !Iie U.S. Probation 0j]ice:

1. The defendant must participate in and successfully complete a program of testing and treatment for substance abuse.

2. The defendant is prohibited from the use of alcohol and is prohibited from entering bars, taverns, or other
establishments whose primary source of income is derived from the sale of alcohol.

3. The defendant must sarticipate in a mental health evaluation and/or treatment program. He must take all
medications prescribe to him by a licensed psychiatrist or physician.

4. The defendant must pay all current and past due child support pa merits as ordered by any State or Federal Court.
He must also cooperate with any requests from the Iowa C id Support Recovery Unit iii the collection and
satisfaction of those obligations.

5. The defendant will submit to a search of his person, residence, adjacent structures, office or vehicle, conducted by
a United States Probation Off'icer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
of contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
revocation; he shall warn any other residents that the residence or vehicle ma be subject to searches pursuant to
this condition. This condition may be invoked with or without the assistance 0 law enforcement, including the U.S.
Marshals Service.

Upon a finding of a violation of supervision, l understand the Court may: (l) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition of supervision,

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

 

Defendant ate

 

U.S. Probation Officer/Designated Witness ate

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Sheet 5 - Criminal Monetary Penalties

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DEFENDANT: DANIEL LEE RIAL
CASE NUMBER: CR 11-3002~l-MWB

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100 $ 0 S 0
l:l The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes apartial payment, each payee shall receive an approximately rogortioned ayment, unless specified otherwise in
the priority or_dcr or percentage payment column elow. However, pursuant to 18 S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ $

El Restitution amount ordered pursuant to plea agreement $

 

El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fiReenth day alier the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Cl The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
Cl the interest requirement is waived for the E] fine 13 restitution.

L'_l the interest requirement for the l:l fine D restitution is modifiedasfollows:

* Findings for the total amount of losses are required under Qhagters lO9A, l lO, l lOA, and l 13A of Title 18, United States Code, for offenses
committed on or afier September 13, 1994, but before April 2 , 1996.

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Sheet 6 - Criminal Monetary Penalties

 

 

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DEFENDANT: DANIEL LEE RIAL
CASE NUMBER: CR 11-3002-l-MWB
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A l Lump sum payment of S 100 due immediately, balance due

l`_'l not later than ,0r
Cl in accordance with Cl C, l:l D, l:l E, or Cl Fbelow; or

Payment to begin immediately (may be combined with El C, El D, or El F below); or
C [l Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D lIl Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) alier release from imprisonment to a
term of supervision; or

E El Payment during the term of supervised release will commence within (e.g., 30 or 60 days) afier release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F El Special instructions regarding the payment of criminal monetary penalties:

l.lnless the court has expressl ordered othenvis_e, if thisjudg`ment imposes imprisonment, paymentof criminal monetary penalties is due durin
imprisonment. All crimina moneta penalties except t ose payments made through t e Federal Bureau of Prisons‘ lnmate Financia
Responsibility Program, are made tot e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Cl Joint and Several

Defendant and Codefendant Names and Case Numbers (including defendant number), Total Amount, .loint and Several Amount,
and corresponding payee, if appropriate

El The defendant shall pay the cost of prosecution.
Cl The defendant shall pay the following court cost(s):

Cl The defendant shall forfeit the defendant’s interest in the following property to the United States:

Paymenis shall be applied in the foll_ow_ing order: (l? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

